DeMarco•Mitchell,
   Case 24-41357    PLLC Doc 9    Filed 06/10/24 Entered 06/10/24 08:21:24           Desc Main
Robert T. DeMarco                    Document    Page 1 of 8
Michael S. Mitchell
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Plano, TX 75074
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

 IN RE:
                                                    Case No.:      24-41357-R
 Lone Star Logistics and Delivery, LLC
 XX-XXXXXXX
 5211 Spanish Oaks
 Frisco, TX 75034

 Debtor                                             Chapter:       11



     DECLARATION OF BRIAN BLACKMIRE IN SUPPORT OF DEBTOR’S FIRST DAY MOTIONS

          I, Brian Blackmire, hereby state that I am over eighteen (18) years of age, of sound mind,

qualified and competent in all respects to make this Declaration, and do so of my own personal

knowledge, and further state the following:

          1.     I am one the managing members of Lone Star Logistics and Delivery, LLC, the

Debtor and Debtor in possession in the above-styled and numbered case (“Debtor”). In this

capacity, I am generally familiar with the day-to-day business and financial operations, and books

and records of the Debtor.

          2.     I submit this declaration (“Declaration”) in support of the First Day Motions

(defined infra) and other subsequent pleadings, as well as to provide information to parties-in-

interest regarding the Debtor. Except as otherwise indicated, all statements set forth in this

Declaration are based upon: (a) information supplied to me by other members of the Debtor’s

management or the Debtor’s professionals; (b) my review of relevant documents; and (c) my

opinion based upon my experience and knowledge of the Debtor’s operations and financial
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conditions. If called upon to testify, I could and would testify to the facts set forth in this

Declaration.

        3.      On June 7, 2024, (the “Petition Date”), the Debtor will be filing a petition for relief

under chapter 11 of the United States Code, 11 U.S.C. §§ 101 – 1532 (the “Bankruptcy Code”).

        4.      To minimize the impact resulting from the commencement of this chapter 11

bankruptcy case and to negate further economic damage, the Debtor will request various types

of emergency relief through several motions (collectively, the “First Day Motions”). The First

Day Motions seek relief intended to allow the Debtor to effectively transition into chapter 11 and

minimize the disruption of its business operations.

        5.      I am familiar with the contents of each of the First Day Motions (including the

exhibits and/or schedules attached thereto), and I believe the requests for relief made therein

are:

                a.       necessary to enable the Debtor to successfully operate in chapter 11 with

        minimal disruption and loss of productivity and value;

                b.       a critical element to achieving a successful reorganization; and

                c.       in the best interest of the Debtor’s estate and the creditors thereof.

                                  A.      Business History and Operations

        6.      The Debtor is a Texas limited liability company, established August 30, 2019. The

Debtor operates a local freight and shipping delivery business from its base of operations in

Frisco, Texas. At present, the Debtor employs approximately ninety (90) individuals, including

myself and my spouse Brandii.




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        7.      The Debtor operates as a Last Mile Delivery Service Partner (“DSP”) for Amazon

and works solely with that company. The Debtor serves as a third-party contractor, utilizing

leased Amazon branded delivery vans while delivering goods purchased from Amazon.com and

its partners to residential homes and businesses in North Texas. The Debtor has been extremely

successful over the past five years even earning the distinction of being ranked number two in

the nation in volume/performance during 2022.

        8.      While the Debtor is independently owned and has discretion over its internal

structure and staffing, Amazon effectively directs 98% of the company’s operations. The Debtor,

for example, does not control the volume of work assigned to it, the location of its deliveries

within its given regional area, the timing of its shifts, the apparel worn by its drivers, or even the

ultimate rate at which it is compensated for its services.

        9.      This operating environment has presented challenges for the Debtor, as costs and

expenses, including the minimum wage paid to drivers, have increased over time without a

corresponding increase in the rate of compensation paid by Amazon. To address unexpected

expenses, the Debtor turned to merchant lenders.

        10.     More recently, beginning in April, 2024, significant reductions in fleet payments

and daily route rates paid by Amazon have impacted profitability and led directly to a default in

the Debtor’ s obligations to its lenders.

        11.     Despite the challenges described above, the Debtor is profitable and fully capable

of continuing its operations with the goal of restructuring and repaying its debt obligations in full.




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              B.       Debtor’s Expedited Motion for Order Authorizing the Interim
                                 and Final Use, of Cash Collateral

        12.     As is set forth in the Debtor’s Expedited Motion for Order Authorizing the Interim

and Final Use of Cash Collateral (“Cash Collateral Motion”), the Debtor’s secured creditors

include several merchant cash advance lenders (collectively, the “Secured Lenders”). Those

Secured Lenders are as follows:

       Lender                               Contact                        Email
 Headway Capital, LLC             David Fisher, President     support@headwaycapital.com

 Highland Hill Capital,           Mitchell Levy, Director-    mlevy@highlandhillcap.com
 LLC                              Legal Affairs
 (3/6/24 Loan)
                                  Scott Federico, Senior      scott@highlandhillcap.com
                                  Funding Coordinator

                                  David Fogel, Esq.           legaldocs@dfogelpc.com


                                                              info@highlandhillcap.com
                                                              uccsprep@cscinfo.com

 Highland Hill Capital,           Mitchell Levy, Director-    mlevy@highlandhillcap.com
 LLC                              Legal Affairs
 (3/27/23 Loan)
                                  Scott Federico, Senior      scott@highlandhillcap.com
                                  Funding Coordinator

                                  David Fogel, Esq.           legaldocs@dfogelpc.com


                                                              info@highlandhillcap.com
                                                              uccsprep@cscinfo.com



 National Funding, Inc.           Jennifer Agriesti, Senior   jagriesti@nationalfunding.com
                                  Portfolio Management
                                  Specialist



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    RD Capital Funding, LLC          Ekrim Hajra, Account      ehajra@advancedrecoverygroup.com
    (d/b/a FinTap)                   Manager/Resolutions
                                     Specialist, Advanced
                                     Recovery Group


           13.        Based upon my experience with the company and its historical pattern of income,

it is my belief that the sum of outstanding receivables owed to the Debtor by Amazon will remain

relatively constant, thus providing the lenders referenced above with continued adequate

protection of their interests during the Debtor’s reorganization.

           14.        The Debtor has an urgent need for the immediate use of such cash collateral

pending a final hearing on the Cash Collateral Motion. Accordingly, the Debtor seeks to use cash

collateral existing on or after the Petition Date, which cash collateral may be subject to the Liens1

of one or more of the Secured Lenders. As of the Petition Date the Debtor did not have sufficient

unencumbered cash to fund its business operations.

           15.        Absent the ability to use cash collateral the Debtor will no longer be able to

maintain the business operations and will be forced to liquidate its assets. Any liquidation will

result in immediate and irreparable harm to the Debtor and its creditors.

           16.        Debtor is not able to obtain sufficient funds for the continued operation of the

business other than by obtaining the right to use cash collateral pursuant to section 363 of the

Bankruptcy Code.

                 C.      Debtor’s Expedited Motion for Authority to Pay Employee Wages

           17.        The Debtor currently employs a total of ninety (90) individuals. Said employees

are paid bi-weekly and one week in arrears.


1
    As described in the Cash Collateral Motion.



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        18.     The Debtor’s employees were last paid on May 31, 2024, which payroll covered

hours worked by employees during the period from May 12, 2024 through and including May 25,

2024.

        19.     The Debtor’s next payroll disbursement is scheduled to be made on June 14, 2024

for the period covering May 26, 2024 through and including June 8, 2024.

        20.     The Debtor needs to continue to pay the wages due and owing its employees on

a timely basis. The granting of such relief is in the best interest of the bankruptcy estate.

        21.     The total GROSS wages due and owing the Debtor’s employees as of the Petition

Date are as follows:

 Debtor                                            Amount
 Lone Star Logistics and Delivery, LLC             $131,327.68

        22.     It is my opinion that if the employees are not paid their wages as they come due,

many will quit and seek employment elsewhere.

        23.     In the ordinary course of business, the Debtor is required to hold, in trust for its

employees, its portion of certain federal withholding taxes. As it is likely that such taxes are held

in trust for the benefit of Texas and/or the Federal Government, there is no reason to bar the

Debtor from continuing to pay those obligations on a timely basis, including those taxes incurred

and collected pre-petition. The prepetition tax liabilities of the Debtor is projected as follows:

 Debtor                                            Amount
 Lone Star Logistics and Delivery, LLC             $10,841.33

        24.     Failure to allow the Debtor to pay such taxes would only result in increased priority

tax claims. As such, the Debtor needs to be able to continue to pay all tax obligations in a timely




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fashion. The granting of relief under the subject motion is in the best interests of the bankruptcy

estate and the creditors of the Debtor.

                                     D.        Relief Requested

        25.     For the reasons stated herein and in the First Day Motions, the Debtor requests

the relief sought therein be approved and granted.

                                          E.      Verification

        26.     In accordance with the provisions of 28 U.S.C § 1746, I declare under penalty of

perjury that the foregoing is true and correct.




                                                     /s/ Brian Blackmire
 Dated: June 6, 2024
                                                     Brian Blackmire




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